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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA,
                                                Case No. 3:22-cr-184-16
                 Plaintiff,
                 v.                             APPLICATION FOR WRIT
                                                OF HABEAS CORPUS
DAVID JOSEPH KNUTH,

                 Defendant.

     The undersigned attorney hereby applies to the Court for the issuance of a Writ of
Habeas Corpus Ad Prosequendum.

Name of detainee: DAVID JOSEPH KNUTH
Detained at (custodian) North Dakota DOCR, Bismarck, ND/Jamestown, ND
Detainee is charged in this District by Indictment.
Detainee will return to the custody of detaining facility upon termination of proceedings.

Appearance is necessary at the Federal Courthouse in Fargo, North Dakota, on May 22, 2024, at
9:30 AM, for the purpose of Change of Plea.

Attorney Signature:                       /s/
                                          ______________________________________
                                              Alexander J. Stock
Printed Name and Telephone Number:         ALEXANDER J. STOCK, 701-297-7400
Dated: May 15, 2024                        Attorney of Record for the United States

                 WRIT OF HABEAS CORPUS AD PROSEQUENDUM

       The above application is GRANTED and the above-named custodian, as well as the
United States Marshal for this District, or any other duly-sworn federal officer or agent, are
hereby ORDERED to produce the named detainee, on the date and time recited above, and
RETAIN said detainee for all further proceedings as ordered by the Court, after which the
detainee shall be RETURNED to the original custodian.

       Dated: May 15, 2024                 /s/ Alice R. Senechal
                                          _______________________________________
                                          Magistrate Judge Alice R. Senechal
                                          United States District Court
☐      Upon order of the Court, the named detainee has been returned to the original
       custodian pending further proceedings as ordered by this Court.

                                    RETURN OF SERVICE

________________ By: ________________________ ___________________________
Date Executed            Printed Name                Signature
